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             EXHIBIT “A”
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                                    IN THE STATE COURT OF DEKALB COUNTY
                                              STATE OF GEORGIA

             KYUNG TAE LEE,                              |
                                                         |
                     Plaintiff,                          |                   Civil Action File No. 21A05168
                                                         |
             vs.                                         |
                                                         |                  JURY TRIAL DEMANDED
             TONYA’S TRANSPORT, LLC,                     |
             TONYA’S TRANSPORT,                          |
             WILLIE BRANNON, individually                |
             and/or the authorized representative of his |
             Estate in the event he is predeceased,      |
             OOIDA RISK RETENTION GROUP, INC., |
             JOHN DOE INDIVIDUAL(S) and                  |
             JOHN DOE ENTITY(IES),                       |
                                                         |
                     Defendants.                         |

                                                      COMPLAINT

                    COMES NOW the Plaintiff, Kyung Tae Lee (hereinafter “Lee” or “Plaintiff”), by and

             through undersigned counsel, and for his Complaint against Tonya’s Transport, LLC (“Tonya’s

             Transport”), Tonya’s Transport (“TT”), Willie Brannon, individually and/or the authorized

             representative of his Estate in the event he is predeceased (“Brannon”), OOIDA Risk Retention

             Group, Inc. (“OOIDA”), John Doe Individual(s) and John Doe Entity(ies) (hereinafter collectively

             “Defendants”), shows this honorable Court as follows:

                                     I. PARTIES, JURISDICTION AND VENUE

                                                             1.

                    Plaintiff KYUNG TAE LEE is an individual resident of the State of Georgia.

                                                             2.

                    Upon information and belief, Defendant TONYA’S TRANSPORT, LLC, is a motor

             carrier, and a Florida limited liability company engaged in interstate commerce and doing business

             in Georgia. Service may be perfected on Tonya’s Transport’s registered agent, Jones Accounting


                                                            -1-                                                STATE COURT OF
                                                                                                           DEKALB COUNTY, GA.
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             & Tax Services, Inc., at 3632 Land O Lakes Boulevard, Suite 109, Land O Lakes, FL 34639, or

             wherever it may be found. Defendant Tonya’s Transport may also be served on its agent for service

             of process designated under 49 U.S.C. § 13304(a), Owner Operator Services, Inc., c/o Linda

             Louise Armstrong, at 200 Beaver Dam Road, Dahlonega, GA 30533, or wherever she may be

             found.

                                                              3.

                      Upon information and belief, Defendant TONYA’S TRANSPORT is the trade name of the

             owner, operator and/or motor carrier of that certain commercial vehicle that was involved in the

             incident that injured Plaintiff at the H Mart located at or about 6035 Peachtree Road, Doraville,

             Georgia, on November 14, 2019, and/or was the employer, master and/or principal of Willie

             Brannon, the driver of said commercial vehicle, on that date. O.C.G.A § 9-11-10(a) provides that

             “[a] party whose name is not known may be designated by any name; and, when his true name is

             discovered, the pleading may be amended accordingly.” Plaintiff expressly reserves this right to

             amend his pleadings to correct a misnomer in the event the true name of this defendant is

             discovered through further investigation and/or discovery. Service may be perfected on any

             authorized agent of TT located at 3632 Land O Lakes Boulevard, Suite 109, Land O Lakes, FL

             34639, at 4012 39th Street, Tamps, FL 33610, at 200 Beaver Dam Road, Dahlonega, GA 30533,

             or wherever they may be found.

                                                              4.

                      Upon information and belief, Defendant WILLIE BRANNON, individually and/or the

             authorized representative of his Estate in the event he is predeceased, is an individual resident of

             Florida, and may be served at his last known address of 4012 39th Street, Tampa, FL 33610, at

             4509 North 44th Street, Tampa, FL 33610, or wherever he may be found.




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                                                               5.

                    Upon information and belief, Defendant OOIDA RISK RETENTION GROUP, INC., is

             the insurance carrier providing coverage for the incident on November 14, 2019, that is the subject

             of this action, for TONYA’S TRANSPORT, LLC, and/or one or more of the other Defendants

             named herein. Service may be perfected on OOIDA’s registered agent, Risk Services-Vermont,

             Inc., at 58 East View Lane, #2, Barre, VT 05641, or wherever it may be found. OOIDA is named

             as a Defendant in this action pursuant to the direct action provisions of O.C.G.A. § 40-1-112(c)

             and/or O.C.G.A. § 40-2-140(d)(4).

                                                               6.

                    Upon information and belief, Defendants JOHN DOE INDIVIDUAL(S) and JOHN DOE

             ENTITY(IES) are the individual(s) and/or entity(ies) that owned, operated and/or were the motor

             carrier of, that certain commercial vehicle that was involved in the incident that injured Plaintiff

             at the H Mart located at or about 6035 Peachtree Road, Doraville, Georgia, on November 14, 2019,

             and/or were the employer(s), master(s) and/or principal(s) of Willie Brannon, the driver of said

             commercial vehicle, on that date. These Defendants also represent any other individual(s) or

             entity(ies) that are, or may be, liable to Plaintiff on the claims set forth in this Complaint. O.C.G.A

             § 9-11-10(a) provides that “[a] party whose name is not known may be designated by any name;

             and, when his true name is discovered, the pleading may be amended accordingly.” Plaintiff

             expressly reserves this right to amend his pleadings to correct a misnomer in the event the true

             names of these defendants are discovered through further investigation and/or discovery.

                                                               7.

                    This is an action for personal injury within the jurisdiction of this Court, and venue is

             proper herein.




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                                                         II. FACTS

                                                               8.

                    On November 14, 2019, at approximately 10:30 a.m., Plaintiff was working at the H Mart

             located at or about 6035 Peachtree Road, Doraville, Georgia, in DeKalb County.

                                                               9.

                    Defendant Brannon was operating a commercial tractor trailer (the “Truck”) that had

             backed up to a loading dock in order for his cargo to be unloaded.

                                                               10.

                    Plaintiff, the grocery manager, was using a hand operated electric forklift / pallet jack (the

             “Forklift”) to unload the cargo from the Truck.

                                                               11.

                    As Plaintiff was working, Defendant Brannon, without warning, pulled the Truck forward,

             away from the loading dock, just as Plaintiff and the Forklift were crossing into the back of the

             Truck, causing the Forklift to fall into the gap opening up between the loading dock and the Truck,

             and causing Plaintiff, who was holding the Forklift handle, to fall in the back of the Truck.

                                                               12.

                    Plaintiff suffered personal injuries as a result of this incident, including, but not limited to,

             low back pain, neck pain, shoulder pain, elbow pain, hand pain, migraines, disequilibrium, and

             significant knee injuries resulting in multiple surgeries.

                                                               13.

                    Upon information and belief, Defendants (a) Tonya’s Transport, and/or (b) TT (hereinafter

             collectively the “Corporate Defendants”), were the owner(s), operator(s) and/or motor carrier(s)

             of the commercial vehicle operated by Defendant Brannon, and Defendant OOIDA is their




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             insurance carrier.

                                                             14.

                    Upon information and belief, Defendant Brannon was an owner-operator and/or was

             employed by, or a servant or agent of, the Corporate Defendants and at the time of the subject

             collision was operating the commercial vehicle in furtherance of his employer’s, master’s and/or

             principal’s business and within the scope of his employment and/or agency.

                                                       III. CLAIMS

                                                        COUNT ONE
                                                        NEGLIGENCE

                                                             15.

                    Plaintiff re-alleges and incorporates herein by reference Paragraphs 1 through 14 of this

             Complaint as if fully set forth herein.

                                                             16.

                    “The essential elements of a cause of action based on negligence are: ‘(1) A legal duty to

             conform to a standard of conduct raised by the law for the protection of others against unreasonable

             risks of harm; (2) a breach of this standard; (3) a legally attributable causal connection between

             the conduct and the resulting injury; and, (4) some loss or damage flowing to the plaintiff’s legally

             protected interest as a result of the alleged breach of the legal duty.’ ” Thorpe v. Sterling Equip.

             Co., 315 Ga. App. 909, 910, 729 S.E.2d 52 (2012).

                                                             17.

                    At the time of the subject incident, Defendant Brannon was an owner-operator and/or was

             employed by, or a servant or agent of, the Corporate Defendants, was operating his vehicle in

             furtherance of his employer’s, master’s and/or principal’s business, and was acting within the

             scope of his employment and/or agency, rendering the Corporate Defendants liable under the



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             doctrine of respondeat superior, or otherwise under the rules governing employer-employee,

             master-servant, and/or principal-agent relationships.

                                                               18.

                     The Corporate Defendants and Brannon owed Plaintiff duties under federal law and

             regulations in their capacities as interstate motor carrier(s) and the driver thereof, and the Corporate

             Defendants and Brannon breached those duties.

                                                               19.

                     The Corporate Defendants and Brannon engaged in the following negligent conduct:

                     a. Failed to keep proper lookout;

                     b. Failed to keep vehicle under proper control;

                     c. Operated the vehicle in a dangerous manner under the circumstances then existing;

                     d. Failed to properly inspect and ensure that unloading activities had been completed, and

                          all workers were clear, before pulling away from the loading dock;

                     e. Failed to exercise caution when pulling away from the loading dock;

                     f. Failed to take such action necessary to avoid the incident when it was apparent, with the

                          exercise of reasonable and ordinary care, that the incident was about to occur;

                     g. Failed to exercise ordinary and reasonable care to avoid said incident;

                     h. Failed to operate vehicle with due regard for the safety of all other persons in the area; and

                     i. Upon information and belief, was negligent in other respects not known to Plaintiff

                          which may become known through further investigation and/or discovery.

                                                               20.

                     The Corporate Defendants and Brannon had the duty to not engage in the negligent conduct

             described herein.




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                                                               21.

                    The Corporate Defendants and Brannon breached their duties to Plaintiff, and are liable for

             negligence.

                                                               22.

                    The negligence of the Corporate Defendants and Brannon was the sole and proximate cause

             of the incident.

                                                               23.

                    As a result of the negligence of the Corporate Defendants and Brannon, Plaintiff has

             sustained and suffered personal injuries and monetary losses, and is likely to incur future damages,

             including but not limited to, the following:

                    a. Severe, painful, permanent and disabling injuries to his body;

                    b. Physical pain and mental anguish;

                    c. Diminished capacity to enjoy the ordinary pleasures of life;

                    d. Expenses incurred for doctors, hospitals, pharmacies and other medical necessities

                          incurred in an attempt to alleviate the aforesaid injuries;

                    e. Expenses incurred for travel to receive necessary medical treatment;

                    f. Lost wages and/or other income;

                    g. Lost capacity to labor;

                    h. Continuing impairments;

                    i. Future pain and suffering; and

                    j. Future medical expenses.

                    (Plaintiff reserves the right to amend this list of damages as the evidence develops to seek all

             the elements of damages allowed under Georgia law.)




                                                               -7-

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                                                              24.

                    All the foregoing injuries, losses and damages were directly and proximately caused by the

             negligence of the Corporate Defendants and Brannon.

                                                              25.

                    Accordingly, the Corporate Defendants and Brannon are liable to Plaintiff for negligence, and

             Plaintiff is entitled to damages in an amount to be proven and/or determined at trial.

                                                        COUNT TWO
                                                       DIRECT ACTION

                                                              26.

                    Plaintiff re-alleges and incorporates herein by reference Paragraphs 1 through 25 of this

             Complaint as if fully set forth herein.

                                                              27.

                    Defendant OOIDA is directly liable to Plaintiff for the damages alleged in this Complaint

             pursuant to the provisions of O.C.G.A. § 40-1-112(c), O.C.G.A. § 40-2-140(d)(4) and/or as

             otherwise provided by law.

                                                IV. PRAYER FOR RELIEF

                    WHEREFORE, Plaintiff prays that this Court:

                    (a)      Assume jurisdiction over this action and afford Plaintiff a trial by jury on all issues

                             so triable;

                    (b)      Grant Plaintiff judgment for general and special damages against Defendants in

                             amounts to be proven and/or determined at trial on each of the claims set forth in

                             this Complaint;

                    (c)      Award Plaintiff pre-judgment interest, if allowed, at the maximum legal rate;

                    (d)      Award Plaintiff post-judgment interest at the maximum legal rate;



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                    (e)    Award Plaintiff his litigation expenses, if allowed, including reasonable attorney’s

                           fees and the costs of this action incurred by Plaintiff; and

                    (f)    Grant all such other relief that it deems just and appropriate.

             This 12th day of November, 2021.

                                                          Respectfully submitted,
                                                          MCGAHREN LAW FIRM, LLC

                                                          /s/ Matthew F. McGahren
                                                          Matthew F. McGahren, Esq.
                                                          Georgia Bar No. 491330
                                                          Eric J. Marlett, Esq.
                                                          Georgia Bar No. 470931

                                                          Attorneys for Plaintiff

                                                          6171 Crooked Creek Rd., Suite A
                                                          Peachtree Corners, GA 30092
                                                          Phone: (770) 729-1795
                                                          Fax: (770) 729-1774
                                                          matt@mcgahrenlaw.com
                                                          eric@mcgahrenlaw.com




                                                                  STATE COURT OF
                                                                  DEKALB COUNTY, GA.
                                                                  11/12/2021 11:59 PM
                                                                  E-FILED
                                                                  BY: Monica Gay




                                            USCR 36.4 IDENTIFICATION
                                    Kyung Tae Lee vs. Tonya’s Transport, LLC, et al.
                                                      COMPLAINT



                                                            -9-

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                     Case 1:21-cv-05342-SEG Document 1-1 Filed 12/30/21 Page 11 of 17


                No. ___________________________                          STATE COURT OF DEKALB COUNTY
                                                                                  GEORGIA, DEKALB COUNTY
                Date Summons Issued and E-Filed

                                                                                               SUMMONS
                        11/15/2021
                ______________________________
                     /s/ Monica Gay
                ______________________________
                Deputy Clerk

                Deposit Paid $ __________________
                                                                            Kyung Tae Lee, et al.
                                                                           _____________________________________

                                                                             (c/o Plaintiff's counsel)
                                                                           ______________________________________
                                                                           Plaintiff's name and address

                                                                            vs.
                [ ] JURY
                                                                             Tonya's Transport, LLC, et al.
                                                                           ______________________________________

                                                                 (3632 Land O Lakes Blvd, Suite 109, Land O Lakes, FL 34639)
                                                                       ______________________________________
                                                                           Defendant's name and address

                TO THE ABOVE-NAMED DEFENDANT:

                You are hereby summoned and required to file with the Clerk of State Court, Suite 230, 2nd Floor,
                Administrative Tower, DeKalb County Courthouse, 556 N. McDonough Street, Decatur, Georgia
                30030 and serve upon the plaintiff's attorney, to wit:
                     Matthew F. McGahren, Esq.
                _______________________________________________________________
                Name
                      6171 Crooked Creek Rd., Peachtree Corners, GA 30092
                _______________________________________________________________
                Address
                      (770) 729-1795                                      491330
                _______________________________________________________________
                Phone Number                                               Georgia Bar No.

                an ANSWER to the complaint which is herewith served upon you, within thirty (30) days after
                service upon you, exclusive of the day of service. If you fail to do so, judgment by default will be
                taken against you for the relief demanded in the complaint. The answer or other responsive
                pleading can be filed via electronic filing through eFileGA via www.eFileGA.com or, if desired, at the e-filing public
                access terminal in the Clerk’s Office at 556 N. McDonough Street, Decatur, Georgia 30030

                __________________________________________                           ________________________________
                Defendant's Attorney                                                 Third Party Attorney
                __________________________________________                           ________________________________
                Address                                                              Address
                __________________________________________                           ________________________________
                Phone No.                 Georgia Bar No.                            Phone No.          Georgia Bar No.

                                                                  TYPE OF SUIT
                   Personal Injury Products Liability                                                 TBD
                                                                                     Principal $ _____________________
                  Contract Medical Malpractice
                  Legal Malpractice Product Liability                                Interest $         TBD
                                                                                                   _____________________
                  Other
                                                                                           TBD
                                                                         Atty Fees $ _____________________
                Access to the e-filing site and the rules is available at www.dekalbstatecourt.net
                To indicate consent to e-service check the box below.
                  (Plaintiff consents to e-service pursuant to OCGA 9-11-5 (f). The email address for
                service appears in the complaint.

                                                                                                         E-file summons1-2016
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                                                                                                                                         DEKALB COUNTY, GA.
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                     Case 1:21-cv-05342-SEG Document 1-1 Filed 12/30/21 Page 12 of 17

                      21A05168
                No. ___________________________                          STATE COURT OF DEKALB COUNTY
                                                                                  GEORGIA, DEKALB COUNTY
                Date Summons Issued and E-Filed

                                                                                               SUMMONS
                        11/15/2021
                ______________________________
                     /s/ Monica Gay
                ______________________________
                Deputy Clerk

                Deposit Paid $ __________________
                                                                            Kyung Tae Lee, et al.
                                                                           _____________________________________

                                                                             (c/o Plaintiff's counsel)
                                                                           ______________________________________
                                                                           Plaintiff's name and address

                                                                            vs.
                [ ] JURY
                                                                             Willie Brannon, et al.
                                                                           ______________________________________

                                                                           (4012 39th Street, Tampa, FL 33610)
                                                                           ______________________________________
                                                                           Defendant's name and address

                TO THE ABOVE-NAMED DEFENDANT:

                You are hereby summoned and required to file with the Clerk of State Court, Suite 230, 2nd Floor,
                Administrative Tower, DeKalb County Courthouse, 556 N. McDonough Street, Decatur, Georgia
                30030 and serve upon the plaintiff's attorney, to wit:
                     Matthew F. McGahren, Esq.
                _______________________________________________________________
                Name
                      6171 Crooked Creek Rd., Peachtree Corners, GA 30092
                _______________________________________________________________
                Address
                      (770) 729-1795                                      491330
                _______________________________________________________________
                Phone Number                                               Georgia Bar No.

                an ANSWER to the complaint which is herewith served upon you, within thirty (30) days after
                service upon you, exclusive of the day of service. If you fail to do so, judgment by default will be
                taken against you for the relief demanded in the complaint. The answer or other responsive
                pleading can be filed via electronic filing through eFileGA via www.eFileGA.com or, if desired, at the e-filing public
                access terminal in the Clerk’s Office at 556 N. McDonough Street, Decatur, Georgia 30030

                __________________________________________                           ________________________________
                Defendant's Attorney                                                 Third Party Attorney
                __________________________________________                           ________________________________
                Address                                                              Address
                __________________________________________                           ________________________________
                Phone No.                 Georgia Bar No.                            Phone No.          Georgia Bar No.

                                                                  TYPE OF SUIT
                   Personal Injury Products Liability                                                 TBD
                                                                                     Principal $ _____________________
                  Contract Medical Malpractice
                  Legal Malpractice Product Liability                                Interest $         TBD
                                                                                                   _____________________
                  Other
                                                                                           TBD
                                                                         Atty Fees $ _____________________
                Access to the e-filing site and the rules is available at www.dekalbstatecourt.net
                To indicate consent to e-service check the box below.
                  (Plaintiff consents to e-service pursuant to OCGA 9-11-5 (f). The email address for
                service appears in the complaint.

                                                                                                         E-file summons1-2016
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                        21A05168
                No. ___________________________                          STATE COURT OF DEKALB COUNTY
                                                                                  GEORGIA, DEKALB COUNTY
                Date Summons Issued and E-Filed

                                                                                               SUMMONS
                       11/15/2021
                ______________________________
                        /s/ Monica Gay
                ______________________________
                Deputy Clerk

                Deposit Paid $ __________________
                                                                            Kyung Tae Lee, et al.
                                                                           _____________________________________

                                                                             (c/o Plaintiff's counsel)
                                                                           ______________________________________
                                                                           Plaintiff's name and address

                                                                            vs.
                [ ] JURY
                                                                             OOIDA Risk Retention Group, Inc., et
                                                                           ______________________________________                        al.
                                                                           (58 East View Lane, #2, Barre, VT 05641)
                                                                           ______________________________________
                                                                           Defendant's name and address

                TO THE ABOVE-NAMED DEFENDANT:

                You are hereby summoned and required to file with the Clerk of State Court, Suite 230, 2 nd Floor,
                Administrative Tower, DeKalb County Courthouse, 556 N. McDonough Street, Decatur, Georgia
                30030 and serve upon the plaintiff's attorney, to wit:
                     Matthew F. McGahren, Esq.
                _______________________________________________________________
                Name
                      6171 Crooked Creek Rd., Peachtree Corners, GA 30092
                _______________________________________________________________
                Address
                      (770) 729-1795                                      491330
                _______________________________________________________________
                Phone Number                                               Georgia Bar No.

                an ANSWER to the complaint which is herewith served upon you, within thirty (30) days after
                service upon you, exclusive of the day of service. If you fail to do so, judgment by default will be
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                pleading can be filed via electronic filing through eFileGA via www.eFileGA.com or, if desired, at the e-filing public
                access terminal in the Clerk’s Office at 556 N. McDonough Street, Decatur, Georgia 30030

                __________________________________________                           ________________________________
                Defendant's Attorney                                                 Third Party Attorney
                __________________________________________                           ________________________________
                Address                                                              Address
                __________________________________________                           ________________________________
                Phone No.                 Georgia Bar No.                            Phone No.          Georgia Bar No.

                                                                  TYPE OF SUIT
                 Personal Injury  Products Liability                                                TBD
                                                                                     Principal $ _____________________
                 Contract  Medical Malpractice
                 Legal Malpractice  Product Liability                              Interest $         TBD
                                                                                                   _____________________
                Other
                                                                                           TBD
                                                                         Atty Fees $ _____________________
                Access to the e-filing site and the rules is available at www.dekalbstatecourt.net
                To indicate consent to e-service check the box below.
                (Plaintiff consents to e-service pursuant to OCGA 9-11-5 (f). The email address for
                service appears in the complaint.

                                                                                                         E-file summons1-2016
                                                                                                                                             STATE COURT OF
                                                                                                                                         DEKALB COUNTY, GA.
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                                   General Civil and Domestic Relations Case Filing Information Form

                                                                            DEKALB
                                        ‫ ܆‬Superior or ‫ ܆‬State Court of ______________________________ County

              For Clerk Use Only
                             11/15/2021
              Date Filed _________________________                                Case Number 21A05168
                                                                                              _________________________
                              MM-DD-YYYY

      Plaintiff(s)                                                                   Defendant(s)
      __________________________________________________
      Lee, Kyung Tae                                                                  1) Tonya's Transport, LLC
                                                                                     __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
                                                                                      2) Tonya's Transport
      Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
                                                                                       3) Brannon, Willie
      Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
                                                                                       4) OOIDA Risk Retention Group, Inc.
      Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix   Prefix

                              Matthew F. McGahren
      Plaintiff’s Attorney ________________________________________                    491330
                                                                    State Bar Number __________________ Self-Represented ‫܆‬

                                Check one case type and one sub-type in the same box (if a sub-type applies):

              General Civil Cases
                                                                                              Domestic Relations Cases
              ‫܆‬           Automobile Tort
              ‫܆‬           Civil Appeal                                                        ‫܆‬            Adoption
              ‫܆‬           Contempt/Modification/Other                                         ‫܆‬            Contempt
                          Post-Judgment                                                                    ‫ ܆‬Non-payment of child support,
              ‫܆‬           Contract                                                                         medical support, or alimony
              ‫܆‬           Garnishment                                                         ‫܆‬            Dissolution/Divorce/Separate
              ‫܆‬           General Tort                                                                     Maintenance/Alimony
              ‫܆‬           Habeas Corpus                                                       ‫܆‬            Family Violence Petition
              ‫܆‬           Injunction/Mandamus/Other Writ                                      ‫܆‬            Modification
              ‫܆‬           Landlord/Tenant                                                                  ‫ ܆‬Custody/Parenting Time/Visitation
              ‫܆‬           Medical Malpractice Tort                                            ‫܆‬            Paternity/Legitimation
              ‫܆‬           Product Liability Tort                                              ‫܆‬            Support – IV-D
              ‫܆‬           Real Property                                                       ‫܆‬            Support – Private (non-IV-D)
              ‫܆‬           Restraining Petition                                                ‫܆‬            Other Domestic Relations
              ‫܆‬           Other General Civil

      ‫܆‬       Check if the action is related to another action pending or previously pending in this court involving some or all of
              the same: parties, subject matter, or factual issues. If so, provide a case number for each.
              ____________________________________________            ____________________________________________
                           Case Number                                              Case Number

      ‫܆‬       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
              redaction of personal or confidential information in OCGA § 9-11-7.1.

      ‫܆‬       Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

                   Korean
               ________________________________ Language(s) Required

      ‫܆‬       Do you or your client need any disability accommodations? If so, please describe the accommodation request.


                                                                                                                                                   STATE
                                                                                                                                                Version     COURT OF
                                                                                                                                                        1.1.20
                                                                                                                                              DEKALB COUNTY, GA.
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                          Case 1:21-cv-05342-SEG Document 1-1 Filed 12/30/21 Page 15 of 17

                                   General Civil and Domestic Relations Case Filing Information Form

                                                                            DEKALB
                                        ‫ ܆‬Superior or ‫ ܆‬State Court of ______________________________ County

              For Clerk Use Only

              Date Filed _________________________                                Case Number _________________________
                              MM-DD-YYYY

      Plaintiff(s)                                                                   Defendant(s)
      __________________________________________________
      Lee, Kyung Tae                                                                  5) John Doe Individual(s)
                                                                                     __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
                                                                                      6) John Doe Entity(ies)
      Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix   Prefix

                              Matthew F. McGahren
      Plaintiff’s Attorney ________________________________________                    491330
                                                                    State Bar Number __________________ Self-Represented ‫܆‬

                                Check one case type and one sub-type in the same box (if a sub-type applies):

              General Civil Cases
                                                                                              Domestic Relations Cases
              ‫܆‬           Automobile Tort
              ‫܆‬           Civil Appeal                                                        ‫܆‬            Adoption
              ‫܆‬           Contempt/Modification/Other                                         ‫܆‬            Contempt
                          Post-Judgment                                                                    ‫ ܆‬Non-payment of child support,
              ‫܆‬           Contract                                                                         medical support, or alimony
              ‫܆‬           Garnishment                                                         ‫܆‬            Dissolution/Divorce/Separate
              ‫܆‬           General Tort                                                                     Maintenance/Alimony
              ‫܆‬           Habeas Corpus                                                       ‫܆‬            Family Violence Petition
              ‫܆‬           Injunction/Mandamus/Other Writ                                      ‫܆‬            Modification
              ‫܆‬           Landlord/Tenant                                                                  ‫ ܆‬Custody/Parenting Time/Visitation
              ‫܆‬           Medical Malpractice Tort                                            ‫܆‬            Paternity/Legitimation
              ‫܆‬           Product Liability Tort                                              ‫܆‬            Support – IV-D
              ‫܆‬           Real Property                                                       ‫܆‬            Support – Private (non-IV-D)
              ‫܆‬           Restraining Petition                                                ‫܆‬            Other Domestic Relations
              ‫܆‬           Other General Civil

      ‫܆‬       Check if the action is related to another action pending or previously pending in this court involving some or all of
              the same: parties, subject matter, or factual issues. If so, provide a case number for each.
              ____________________________________________            ____________________________________________
                           Case Number                                              Case Number

      ‫܆‬       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
              redaction of personal or confidential information in OCGA § 9-11-7.1.

      ‫܆‬       Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

                   Korean
               ________________________________ Language(s) Required

      ‫܆‬       Do you or your client need any disability accommodations? If so, please describe the accommodation request.


                                                                                                                                                Version 1.1.20



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             TO:            All Judges, Clerks of Court, Counsel of Record

             FROM:          Matthew F. McGahren, Esq.

             RE:            Notice of Leave of Absence

             DATE:          November 17, 2021

             CAFN:          21A05168, Kyung Tae Lee vs. Tonya’s Transport, LLC, et al.

                                          NOTICE OF LEAVE OF ABSENCE

                     COMES NOW, Attorney Matthew F. McGahren and respectfully notifies all Judges
             before whom he has cases pending, all affected Clerks of Court, and all opposing Counsel, that
             he will be on leave pursuant to U.S. District Court Northern District of Georgia Atlanta Division
             Local Rule 83.1(E)(3) and Georgia Uniform Court Rule 16.1 as follows:
                     1.     The period of leave during which time Attorney McGahren will be away from
                            practice of law will be:
                           •   January 7, 2022                           •   February 13 – February 15, 2022
                           •   January 21, 2022                          •   March 4, 2022
                           •   February 4, 2022                          •   March 7 – March 11, 2022
                           •   February 10 – February 11, 2022           •   March 14, 2022
                     2.     The purposes of these leaves are to attend CLE, to attend medical appointments,
                            to assist family members with personal needs and to attend family vacations.
                     3.     Attorney McGahren his knowledge, this case is not on a published calendar and is
                            not noticed for a hearing during the period of leave of absence.
                     4.     All affected Judges and opposing Counsel shall have ten (10) days from the date
                            of this Notice to object. If no objections are filed or action is taken by the Court
                            denying leave, the leave shall be granted without an entry of an Order.

                                                           Respectfully Submitted by:

                                                           /s/ Matthew F. McGahren
                                                           Matthew F. McGahren, Esq.
                                                           Georgia Bar No. 491330
             6171 Crooked Creek Road
             Peachtree Corners, GA 30092
             Phone: (770) 729-1795
             Fax: (770) 729-1774
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                                                                                                                   STATE COURT OF
                                                                                                               DEKALB COUNTY, GA.
                                                                                                                  11/17/2021 3:23 PM
                                                                                                                             E-FILED
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                        Case 1:21-cv-05342-SEG Document 1-1 Filed 12/30/21 Page 17 of 17




             matt@mcgahrenlaw.com

                                             CERTIFICATE OF SERVICE

                    This is to certify that I have this date served a copy of the foregoing Notice of Leave of

             Absence upon all judges, clerks, and counsel of record by electronic service via the Court’s e-

             filing system and/or by depositing the same in the U.S. Mail with adequate postage affixed

             thereto.

                    This 17th day of November 2021.


                                                                    Respectfully submitted,

                                                                    /s/ Matthew F. McGahren
                                                                    Matthew F. McGahren, Esq.
                                                                    Georgia Bar No. 491330
             McGahren Law Firm, LLC
             6171 Crooked Creek Road
             Peachtree Corners, GA 30092
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